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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


UNITED STATES OF AMERICA                      §
Plaintiff                                     §
                                              §
V.                                            §      No. 4:19-cv-862
                                              §      Judge Mazzant
$1,860,907.10 in UNITED STATES                §
CURRENCY                                      §
Defendant                                     §

                                    FINAL JUDGMENT

         By agreement of the parties, and for good cause shown, it is ORDERED that:

         $950,900.00 in United States currency is forfeited in its entirety to the United

States, and the United States agrees to return $910,907.10 in United States currency to

MSG Leasing and Vilhauer Enterprises, as outlined in the Stipulation and Settlement

Agreement;

         The United States had probable cause and/or reasonable cause for the seizure of

the defendant property herein, and this Judgment shall constitute a certificate of

reasonable cause for the purposes of 28 U.S.C. '2465;

         The Defendant Property is forfeited as stated above and all claims and interests in

and to the Defendant Property are forever foreclosed and barred and said property shall

be disposed of according to law;




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          The above-styled cause be and the same is hereby dismissed with prejudice, each

.   party to bear its own fees and other expenses; and

          This Court shall retain jurisdiction in this action for the purpose of enforcing the

    terms of the aforementioned Stipulation and Settlement Agreement.

          IT IS SO ORDERED.
          SIGNED this 27th day of May, 2022.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE




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